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IN THE UNITED STATES DISTRICT COURT
FOR TI-IE SOUTHERN DISTRICT OF IOWA
CENTRAL DIVISION

 

ARTHUR BONIFIELD, : Civil Actien No. 4: lZ-cv-000368
Plaintiff,

VS.

WELTMAN, WEINBERG & REIS CO.,
L.P.A.,

Defendant.

DISMISSAL WITH PREJUDICE
Plaintiff Arthur Beniflelcl, by his attorney Ray Johnson, hereby dismisses the above-

captioned matter With prejudice

Respectfully Submitted this § §§“day of NOVQ/_H_/ )b€i/,F 2012.

 

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